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                         Construction Budget Pg 1 of 3




                                    Exhibit C

                         Construction Budget and Timeline
                                                                                            24-11463-pb                                                     Doc 71-3                              Filed 02/04/25 Entered 02/04/25 16:17:01                                                                                                                                        Exhibit C
                                                                                                                                                                                                 Construction Budget Pg 2 of 3
                                                                                          Mar-25         Apr-25           May-25            Jun-25           Jul-25            Aug-25            Sep-25            Oct-25            Nov-25            Dec-25            Jan-26           Feb-26         Mar-26         Apr-26      May-26       Jun-26         Jul-26       Aug-26       Sep-26         Oct-26       Nov-26       Dec-26        Jan-27       Feb-27
DIP Loan Budget                                         Totals                              1              2                3                 4                5                 6                 7                 8                 9                 10                11               12            13              14         15            16             17           18           19            20            21           22            23           24

General Operating
Ad-Valorem Taxes Outstanding                        2,820,564                             2,820,564             -                 -                 -                 -             -                     -                 -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -
2025 Ad-Valorem Tax Reserve                           490,325                                   -               -                 -                 -                 -         490,325                                     -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -
CAM Charges Outstanding                               178,010                               178,010
Insurance, D&O                                            -                                     -               -                 -                 -                 -             -                     -                 -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -
Insurance, Property                                       -                                     -               -                 -                 -                 -             -                     -                 -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -
Total General Operating                             3,488,900                             2,998,575             -                 -                 -                 -         490,325                   -                 -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -

Restructuring & Professional Services
Appraiser                                                 -                                     -               -                -                  -              -                 -                 -                 -                 -                    -                 -             -               -             -            -            -                -          -            -                -          -            -             -            -
Architecture [ODA Architecture]                           -                                     -               -                -                  -              -                 -                 -                 -                 -                    -                 -             -               -             -            -            -                -          -            -                -          -            -             -            -
Engineering [Mottola Rini Engineers, P.C.                 -                                     -               -                -                  -              -                 -                 -                 -                 -                    -                 -             -               -             -            -            -                -          -            -                -          -            -             -            -
Expeditor [JM Zoning]                                     -                                     -               -                -                  -              -                 -                 -                 -                 -                    -                 -             -               -             -            -            -                -          -            -                -          -            -             -            -
Debtor Legal                                          225,000                               100,000             -                -                  -           50,000            25,000            25,000            25,000               -                    -                 -             -               -             -            -            -                -          -            -                -          -            -             -            -
Chief Restructuring Officer                            50,000                                50,000             -                -                  -              -                 -                 -                 -                 -                    -                 -             -               -             -            -            -                -          -            -                -          -            -             -            -
United States Trustee                                 139,530                                   -               -             51,530                -              -              25,000               -                 -              25,000                  -                 -          18,000             -             -          5,000          -                -        5,000          -                -        5,000          -             -          5,000
Total Restructuring & Professional Services           414,530                               150,000             -             51,530                -           50,000            50,000            25,000            25,000            25,000                  -                 -          18,000             -             -          5,000          -                -        5,000          -                -        5,000          -             -          5,000

Hard Costs to Complete
General Requirements                                   95,504                                11,938          11,938           11,938           11,938             5,969            5,969             5,969             5,969             5,969             5,969             5,969             5,969            -             -            -            -                -          -            -                -          -            -             -            -
Wood, Plastics & Composites                         2,727,662                               280,000         325,000          325,000          300,000          300,000           280,000           220,000           220,000           160,000           140,000           140,000            37,662            -             -            -            -                -          -            -                -          -            -             -            -
Thermal & Moisture Protection                         310,801                                31,754          36,857           36,857           34,022           34,022            31,754            24,949            24,949            18,145            15,877            15,877             5,738            -             -            -            -                -          -            -                -          -            -             -            -
Openings                                              258,336                                       -        40,000           65,000           65,000                     -                 -       55,000            33,336                      -                 -                 -              -          -             -            -            -                -          -            -                -          -            -             -            -
Finishes                                            2,620,232                                       -       350,000                   -       250,000          250,000           250,000           250,000           250,000           250,000           250,000           250,000           270,232            -             -            -            -                -          -            -                -          -            -             -            -
Specialties                                           179,010                                       -        45,000           50,000                    -                 -                 -                 -       35,000            35,000            14,010                      -              -          -             -            -            -                -          -            -                -          -            -             -            -
Appliances                                            246,400                                       -        49,280                   -                 -                 -                 -                 -                 -                 -      197,120                      -              -          -             -            -            -                -          -            -                -          -            -             -            -
Fire Supression                                       226,800                                       -        25,000           25,000           25,000           25,000            25,000            25,000            25,000            25,000            18,000             8,800                   -          -             -            -            -                -          -            -                -          -            -             -            -
Plumbing                                            1,498,700                                       -       160,000          145,000          145,000          145,000           145,000           145,000           220,000            88,000           122,000           122,000            61,700            -             -            -            -                -          -            -                -          -            -             -            -
Mechanical                                          1,026,003                                       -        93,273           93,273           93,273           93,273            93,273            93,273            93,273            93,273            93,273            93,273            93,273            -             -            -            -                -          -            -                -          -            -             -            -
Electrical                                          1,834,380                                       -       185,000          175,000          175,000          175,000           175,000           175,000           175,000           150,000           150,000           150,000           149,380            -             -            -            -                -          -            -                -          -            -             -            -
Elevator (Allowance)                                  180,000                                       -               -         45,000                    -       34,000                      -       40,000                      -       20,000            20,000            21,000                   -          -             -            -            -                -          -            -                -          -            -             -            -
General Conditions                                  1,120,383                                32,369         132,135           97,207          109,923          106,226           100,600           103,419           108,253            84,539           102,625            80,692            62,395            -             -            -            -                -          -            -                -          -            -             -            -
GC Fee                                                616,210                                17,803          72,674           53,464           60,458           58,424            55,330            56,880            59,539            46,496            56,444            44,381            34,317            -             -            -            -                -          -            -                -          -            -             -            -
Insurance                                             582,340                                72,793          72,793           72,793           72,793           36,396            36,396            36,396            36,396            36,396            36,396            36,396            36,396            -             -            -            -                -          -            -                -          -            -             -            -
Total Hard Costs to Complete                       13,522,761                               446,657      1,598,950         1,195,532        1,342,407        1,263,310         1,198,322         1,230,886         1,286,715         1,012,818         1,221,714           968,388          757,062             -             -            -            -                -          -            -                -          -            -             -            -

Other Costs
DIP Loan Closing Costs [estimated]                    760,000                               760,000             -                 -                 -                 -                 -                 -                 -                 -                 -                 -              -              -             -            -            -                -          -                             -          -            -             -            -
Interest Reserve                                    2,519,000                                   -               -                 -                 -                 -                 -                 -                 -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -
Construction Reserve                                  677,239      $677,239.00               56,437          56,437           56,437           56,437           56,437            56,437            56,437            56,437            56,437            56,437            56,437           56,437             -             -            -            -                -          -            -                -          -            -             -            -
Other Contingency                                      83,541      $83,540.57                83,541             -                 -                 -                 -                 -                 -                 -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -
2025 Condo Charges Reserve                            534,031                                   -               -                 -                 -                 -                 -                 -                 -                 -                 -                 -              -              -             -            -            -                -          -            -                -          -            -             -            -
Total Other Costs                                   4,573,810                               899,977          56,437           56,437           56,437           56,437            56,437            56,437            56,437            56,437            56,437            56,437           56,437             -             -            -            -                -          -            -                -          -            -             -            -

Maximum Loan Amount                                22,000,001                             4,495,209      1,655,387         1,303,499        1,398,844        1,369,747         1,795,084         1,312,323         1,368,152         1,094,255         1,278,151         1,024,825          831,499             -             -          5,000          -                -        5,000          -                -        5,000          -             -          5,000




Maximum Loan Amount                            $22,000,000



Beginning Balance:                                                                              -        3,735,209         5,390,595        6,694,094        8,092,937         9,462,684        11,257,768        12,570,090        13,938,242        15,032,496        16,310,647        17,335,471     18,166,970    18,166,970   18,166,970   18,171,970    18,171,970    18,171,970   18,176,970    18,176,970    18,176,970   18,181,970    18,181,970   18,181,970
    Draws                                                          $18,186,970            3,735,209      1,655,387         1,303,499        1,398,844        1,369,747         1,795,084         1,312,323         1,368,152         1,094,255         1,278,151         1,024,825           831,499            -             -          5,000          -             -           5,000          -             -           5,000          -             -          5,000
    Interest Paid                                                  $2,908,798                   -           45,218            54,341           67,887           76,816            94,434           105,443           113,148           126,098           132,406           145,416           152,391        137,644       152,391      147,516      152,433       147,516       152,475      152,475       147,557       152,517      147,597       152,517      152,559
Ending Balance                                                                            3,735,209      5,390,595         6,694,094        8,092,937        9,462,684        11,257,768        12,570,090        13,938,242        15,032,496        16,310,647        17,335,471        18,166,970     18,166,970    18,166,970   18,171,970   18,171,970    18,171,970    18,176,970   18,176,970    18,176,970    18,181,970   18,181,970    18,181,970   18,186,970



UST Rough Calculation                                               $139,410                 51,530             -                 -            35,155                 -                 -           28,843                  -                 -           23,721                  -              -                40          -            -              40             -          -              40             -          -              40          -            -




Net to Borrower                                    18,721,001        Including reserves


Origination Fee & Broker Fee                         $660,000        3.00%
Application Fee                                              $0      $40,000, including the $15,000 pre-paid deposit funded by third parties. Is not included in the budget since will be credited towards closing costs
Lender Legal                                          $50,000
Closing Costs                                         $50,000
Broker Fee                                                 $0
Total Closing Costs                                  $760,000


Interest Reserve                                   $2,519,000        9.74134%


Maximum Loan Amount                                22,000,001
                                                               1



     Origination Fee                           $660,000.00
     Outstanding RE Taxes                     $2,820,564.00
     2025 Ad-Valorem Tax Reserve               $490,325.00
     Hard Costs to Finish Project             $13,522,761.00
     Construction Reserve                      $677,239.00
     DIP Loan Interest Reserve                $2,519,000.00
     Closing Costs                              $50,000.00
     Lender’s Legal Fee                         $50,000.00
     Ch 11 Professional Fees                   $275,000.00
     Post-Petition Condo Charges               $178,010.12
     2025 Condo Charges Reserve                $534,030.36


     Other Contingency                         $223,070.52
     Total                                    $22,000,000.00




                                                                    Month 1            Month 2          Month 3          Month 4           Month 5          Month 6           Month 7           Month 8           Month 9           Month 10          Month 11          Month 12
TRADE
GENERAL REQUIREMENTS                             $95,500             $11,938              $11,938       $11,938           $11,938          $5,969            $5,969            $5,969            $5,969            $5,969            $5,969            $5,969            $5,969
WOOD, PLASTICS & COMPOSITES                     $2,727,662          $280,000           $325,000         $325,000         $300,000         $300,000          $280,000          $220,000          $220,000          $160,000          $140,000          $140,000          $37,662
THERMAL & MOISTURE PROTECTION                   $310,800             $31,754              $36,857       $36,857           $34,022          $34,022          $31,754           $24,949           $24,949           $18,145           $15,877           $15,877            $5,738
OPENINGS                                        $258,336                                  $40,000       $65,000           $65,000                                             $55,000           $33,336
FINISHES                                        $2,620,232                             $350,000                          $250,000         $250,000          $250,000          $250,000          $250,000          $250,000          $250,000          $250,000          $270,232
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                                                                                                                                 Construction Budget Pg 3 of 3
SPECIALTIES              $179,010                 $45,000      $50,000                                                          $35,000      $35,000      $14,010
APPLIANCES               $246,400                 $49,280                                                                                                $197,120
FIRE SUPPRESSION         $226,800                 $25,000      $25,000      $25,000      $25,000      $25,000      $25,000      $25,000      $25,000      $18,000      $8,800
PLUMBING                $1,498,700               $160,000     $145,000     $145,000     $145,000     $145,000     $145,000     $220,000      $88,000     $122,000     $122,000   $61,700
MECHANICAL              $1,026,000                $93,273      $93,273      $93,273      $93,273      $93,273      $93,273      $93,273      $93,273      $93,273     $93,273    $93,273
ELECTRICAL              $1,834,380               $185,000     $175,000     $175,000     $175,000     $175,000     $175,000     $175,000     $150,000     $150,000     $150,000   $149,380
ELEVATOR ( ALLOWANCE)    $180,000                              $45,000                   $34,000                   $40,000                   $20,000      $20,000     $21,000

SUBTOTAL                $11,203,820   $323,692   $1,321,348   $972,068     $1,099,233   $1,062,264   $1,005,996   $1,034,191   $1,082,527   $845,387     $1,026,249   $806,919   $623,954
GENERAL CONDITIONS      $1,120,382    $32,369    $132,135      $97,207     $109,923     $106,226     $100,600     $103,419     $108,253      $84,539     $102,625     $80,692    $62,395

SUBTOTAL                $12,324,202   $356,061   $1,453,483   $1,069,275   $1,209,156   $1,168,490   $1,106,596   $1,137,610   $1,190,780   $929,926     $1,128,874   $887,611   $686,349
FEE                      $616,210     $17,803     $72,674      $53,464      $60,458      $58,424      $55,330      $56,880      $59,539      $46,496      $56,444     $44,381    $34,317

SUBTOTAL                $12,940,412   $373,864   $1,526,157   $1,122,739   $1,269,614   $1,226,914   $1,161,926   $1,194,490   $1,250,319   $976,422     $1,185,318   $931,992   $720,666
INSURANCE                $582,341     $72,793     $72,793      $72,793      $72,793      $36,396      $36,396      $36,396      $36,396      $36,396      $36,396     $36,396    $36,396

SUBTOTAL                $13,522,753   $446,657   $1,598,950   $1,195,532   $1,342,407   $1,263,310   $1,198,322   $1,230,886   $1,286,715   $1,012,818   $1,221,714   $968,388   $757,062
CONTINGENCY                TBD          TBD         TBD          TBD          TBD          TBD          TBD          TBD          TBD          TBD          TBD         TBD        TBD

TOTAL                   $13,522,753   $446,657   $1,598,950   $1,195,532   $1,342,407   $1,263,310   $1,198,322   $1,230,886   $1,286,715   $1,012,818   $1,221,714   $968,388   $757,062
